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                                No. 23-12160


                                    IN THE
                United States Court of Appeals
                   for the Eleventh Circuit
                         HM FLORIDA-ORL, LLC
                            Plaintiff-Appellee,
                                      v.
          MELANIE GRIFFIN, Secretary, Department of Business
             and Professional Regulation, State of Florida,
                         Defendant-Appellant.

               On Appeal from the United States District Court
                       for the Middle District of Florida,
              District Court Case No. 6:23-cv-00950-GAP-LHP


BRIEF OF AMICI CURIAE THE AMERICAN CIVIL LIBERTIES UNION
           AND THE ACLU FOUNDATION OF FLORIDA
    IN SUPPORT OF PLAINTIFF-APPELLEE AND AFFIRMANCE


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                 CERTIFICATE OF INTERESTED PERSONS

      In addition to those already listed in the parties’ briefs, the following persons

have an interest in the outcome of this case:

      1. American Civil Liberties Union

      2. ACLU Foundation of Florida

      3. Joshua A. Block

      4. Emerson J. Sykes

      5. Daniel B. Tilley




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                 CORPORATE DISCLOSURE STATEMENT

      Amici curiae the American Civil Liberties Union and the ACLU Foundation

of Florida are non-profit entities that do not have parent corporations. No publicly

held corporation owns 10 percent or more of any stake or stock in amici curiae.




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                        INTEREST OF AMICI CURIAE

      The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit,

nonpartisan organization dedicated to defending the principles of liberty and equality

embodied in the Constitution. The ACLU Foundation of Florida (“ACLU of

Florida”) is one of the ACLU’s statewide affiliates. As organizations dedicated to

protecting free expression and the equal rights of lesbian, gay, bisexual, and

transgender people, amici have a strong interest in ensuring that the freedom to

perform drag and attend drag performances is not unconstitutionally abridged.

              STATEMENT OF COMPLIANCE WITH RULE 29

      All parties have consented to the filing of this brief. No counsel for a party

authored any part of this brief. No one other than amici curiae, their members, or

their counsel financed the preparation or submission of this brief.

                          SUMMARY OF ARGUMENT

      “Speech that is neither obscene as to youths nor subject to some other

legitimate proscription cannot be suppressed solely to protect the young from ideas

or images that a legislative body thinks unsuitable for them.” Erznoznik v. City of

Jacksonville, 422 U.S. 205, 213–14 (1975). Drag performances—like other live

theatrical and musical performances—are protected speech. And minors who wish

to attend drag performances have a First Amendment right to do so. The government




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does not have freewheeling authority to make it illegal for minors to view things that

are shocking or inappropriate in the eye of the government censor.

      Florida’s so-called Child Protection Act (the “drag ban”) directly infringes

upon minors’ First Amendment rights by prohibiting them from attending drag

shows that officials might find “lewd” in some way. Defendant asserts that the drag

ban, codified at Fla. Stat. § 827.11, merely applies the longstanding test for obscenity

as to minors, but the statute conspicuously departs from that constitutional standard.

Florida already has a statute defining obscenity for minors, which applies only to

certain depictions of “nudity, sexual conduct, or sexual excitement.” Fla. Stat.

§ 847.001(7). Florida’s new drag ban extends beyond those pre-existing categories

to cover “lewd conduct, or the lewd exposure of prosthetic or imitation genitals or

breasts.” Fla. Stat. § 827.11(1)(a).

      This new language is both overbroad and vague. The drag ban is overbroad

because it prohibits minors from viewing performances that are not obscene for

them, and every application of the statute to non-obscene performances is a content-

based regulation on speech that cannot satisfy strict scrutiny. And the drag ban is

vague because the term “lewd” is not defined in the law and has no clear meaning in

this context. Venues that are subject to the law cannot know what dance moves or

costumes might be considered “lewd” by local officials. Indeed, the lead sponsor of

the bill proclaimed that even “drag queen story time,” which features fully clothed

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drag queens reading children’s books, could be targeted under the drag ban’s

capacious restrictions. App. 235.

      For all these reasons, and the reasons set forth in Plaintiff-Appellee’s brief,

the preliminary injunction should be affirmed.

                                    ARGUMENT

I.    Minors Have a First Amendment Right to Attend Drag Performances.

      Drag performances, like other live theatrical productions, are protected

speech. “All manner of speech—from pictures, films, paintings, drawings, and

engravings, to oral utterance and the printed word—qualify for the First

Amendment’s protections.” 303 Creative LLC v. Elenis, 600 U.S. 570, 587 (2023)

(internal quotation marks and citation omitted). “By its nature, theater usually is the

acting out—or singing out—of the written word, and frequently mixes speech with

live action or conduct.” Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 557–58

(1975). “But that is no reason to hold theater subject to a drastically different

standard” than other protected mediums of expression. Id. at 558. “[L]ive

entertainment, such as musical and dramatic works,” are inherently expressive

activities that “fall within the First Amendment guarantee.” Schad v. Borough of

Mount Ephraim, 452 U.S. 61, 65 (1981). And those protections extend not only to

“political and ideological speech” but also to pure “[e]ntertainment.” Id.




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      Minors who wish to attend drag performances have a First Amendment right

to speak, and to be spoken to. “[M]inors are entitled to a significant measure of First

Amendment protection, and only in relatively narrow and well-defined

circumstances may government bar public dissemination of protected materials to

them.” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 794 (2011) (quoting

Erznoznik, 422 U.S. at 212–213) (citation omitted). The government cannot, for

example, make it a crime to admit minors to a “rock concert” or “political rally.” Id.

at 795 n.3.

      Many minors—including, but by no means limited to, minors who are

LGBTQ—may wish to attend drag shows because of the “political, social, and

cultural messages involved in drag performances.” Woodlands Pride, Inc. v. Paxton,

No. CV H-23-2847, 2023 WL 6226113, at *14 (S.D. Tex. Sept. 26, 2023), appeal

docketed, No. 23-20480 (5th Cir. Sept. 29, 2023). For drag performers and the

people who wish to see them, drag “is an art form, a source of entertainment, and a

form of activism and conveys a valuable political message . . . that individuals with

gender presentation and identities outside the majoritarian norm are welcome in

public places.” S. Utah Drag Stars v. City of St. George, No. 4:23-CV-00044-DN-

PK, 2023 WL 4053395, at *20 (D. Utah June 16, 2023) (internal quotation marks

and footnotes omitted). “Given current political events and discussions, drag shows

. . . are indisputably protected speech and are a medium of expression, containing

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political and social messages regarding (among other messages) self-expression,

gender stereotypes and roles, and LGBTQIA+ identity.” Id.

      But drag performances would still constitute protected speech even if they

lacked a discernable or valuable message. The “First Amendment is not an art critic,”

Norma Kristie, Inc. v. City of Oklahoma City, 572 F. Supp. 88, 91 (W.D. Okla.

1983), and the “right to receive information and ideas, regardless of their social

worth, is fundamental to our free society,” Stanley v. Georgia, 394 U.S. 557, 564

(1969) (citing Winters v. New York, 333 U.S. 507, 510 (1948)). So long as they are

not obscene for minors, the government does not have freewheeling authority to

make it illegal for minors to view materials, including performances, that the

government deems to be crude, vulgar, or age-inappropriate. See Brown, 564 U.S. at

793–96. When speech does not meet the constitutional test for obscenity, parents—

not the government—are entrusted with the responsibility for determining what is

appropriate for their own children. See Brown, 564 U.S. at 794–95 & n.3; Reno v.

ACLU, 521 U.S. 844, 865 (1997); Erznoznik, 422 U.S. at 213–14.

II.   The Drag Ban’s Expansion Beyond the Constitutional Test for Obscenity
      for Minors Is Unconstitutionally Overbroad.

      On its face, Florida’s drag ban is unconstitutionally overbroad because it

covers new undefined categories of “lewd” performances that extend beyond the

pre-existing test for obscenity for minors. A statute is overly broad if it “punishes a



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substantial amount of protected free speech, judged in relation to the statute’s plainly

legitimate sweep.” Virginia v. Hicks, 539 U.S. 113, 118–19 (2003) (internal

quotation marks and citation omitted). “[T]he overbreadth doctrine in effect requires

courts to evaluate the potential reach of a statute, conceivable sets of circumstances,

and possible direct and indirect burdens on speech.” Am. Booksellers v. Webb, 919

F.2d 1493, 1499–500 (11th Cir. 1990). While “overbreadth” and “vagueness” are

distinct doctrines, they “are related in that a court should evaluate the ambiguous as

well as the unambiguous scope of the enactment.” Id. at 1505–06 (internal quotation

marks and citation omitted).

      “[W]hen overly broad statutory language seems to sweep protected First

Amendment expression directly into the scope of a regulation affecting speech, or

indirectly places an undue burden on such protected activity, free expression can be

chilled even in the absence of the statute’s specific application to protected speech.”

Id. at 1499. Thus, “a statute found to be overbroad is totally forbidden until and

unless a limiting construction or partial invalidation so narrows it as to remove the

seeming threat or deterrence to constitutionally protected expression.” FF Cosmetics

FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1303 (11th Cir. 2017) (internal

quotation marks and citation omitted).




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      A.     The drag ban extends beyond the constitutional test for obscenity
             for minors to reach protected speech.

      The drag ban conspicuously departs from the constitutional test for obscenity

for minors established by Miller v. California, 413 U.S. 15 (1973), and Ginsberg v.

New York, 390 U.S. 629 (1968). See Brown, 564 U.S. at 808 (Alito, J., concurring)

(discussing the Miller/Ginsberg standard); Am. Booksellers, 919 F.2d at 1496

(same). “Under Miller, an obscenity statute must contain a threshold limitation that

restricts the statute’s scope to specifically described ‘hard core’ materials.” Brown,

564 U.S. at 808 (Alito, J., concurring) (citing Miller, 413 U.S. at 23–25). “Materials

that fall within this ‘hard core’ category may be deemed to be obscene if three

additional requirements are met.” Id.

      (1)    An “average person, applying contemporary community
             standards must find the work, taken as a whole, appeals to the
             prurient interest”;
      (2)    “[T]he work must depict or describe, in a patently offensive way,
             sexual conduct specifically defined by the applicable state law;
             and”
      (3)    “[T]he work, taken as a whole, must lack serious literary, artistic,
             political, or scientific value.”

Id. (quoting Miller, 413 U.S. at 24) (alterations incorporated).

      Before it enacted the drag ban, Florida already had an obscenity statute that

comported with Miller and Ginsberg. See Fla. Stat. § 847.001. That statute defines

material that is obscene to minors as any “reproduction, imitation, characterization,



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description, exhibition, presentation, or representation, of whatever kind or form,

depicting nudity,[1] sexual conduct,[2] or sexual excitement[3]” and which meets the

additional three prongs of the Miller/Ginsberg obscenity test. Fla. Stat.

§ 847.001(7)(a)–(c).

      But Florida’s drag ban does not just apply to the same “threshold” categories

of speech covered by Fla. Stat. § 847.001. It applies to live performances

“depict[ing] or simulat[ing] [(i)] nudity, sexual conduct, sexual excitement, or

specific sexual activities as those terms are defined in s. 847.001, [(ii)] lewd conduct,

or [(iii)] the lewd exposure of prosthetic or imitation genitals or breasts.” Fla. Stat.

§ 827.11(1)(a). The statute thus applies to performances of “lewd conduct, or the


1
  “Nudity” is defined as “the showing of the human male or female genitals, pubic
area, or buttocks with less than a fully opaque covering; or the showing of the female
breast with less than a fully opaque covering of any portion thereof below the top of
the nipple; or the depiction of covered male genitals in a discernibly turgid state. A
mother’s breastfeeding of her baby does not under any circumstance constitute
‘nudity,’ irrespective of whether or not the nipple is covered during or incidental to
feeding.” Fla. Stat. § 847.001(11).
2
  “Sexual conduct” is defined as “actual or simulated sexual intercourse, deviate
sexual intercourse, sexual bestiality, masturbation, or sadomasochistic abuse; actual
or simulated lewd exhibition of the genitals; actual physical contact with a person's
clothed or unclothed genitals, pubic area, buttocks, or, if such person is a female,
breast with the intent to arouse or gratify the sexual desire of either party; or any act
or conduct which constitutes sexual battery or simulates that sexual battery is being
or will be committed.” Fla. Stat. § 847.001(19).
3
 “Sexual excitement” is defined as “the condition of the human male or female
genitals when in a state of sexual stimulation or arousal.” Fla. Stat. § 847.001(20).


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lewd exposure of prosthetic or imitation genitals or breasts,” even when the “lewd”

conduct or exposure does not involve “nudity,” “sexual conduct,” or “sexual

excitement,” as defined by Fla. Stat. § 847.001.

      “[U]nder any test of obscenity as to minors . . . ‘such expression must be, in

some significant way, erotic.’” Erznoznik, 422 U.S. at 213 n.10 (quoting Cohen v.

California, 403 U.S. 15, 20 (1971)). But unless given a limiting construction, “the

word lewd is much broader than obscene. Lewd means, among other things, vulgar,

base, evil, wicked, poor, worthless, dissolute, lascivious, indecent, obscene, and

salacious.” Cunningham v. State, 400 S.E.2d 916, 921 (Ga. 1991); accord State v.

Bagnes, 322 P.3d 719, 723 (Utah 2014) (“A lewd act is sometimes defined in general

terms of impropriety—as something vulgar, base, or vile.”). For these reasons, courts

have consistently invalidated prohibitions on “lewd” speech and expression in the

absence of a limiting statutory definition or judicial construction. See D.C. v. City of

St. Louis, 795 F.2d 652, 654 (8th Cir. 1986) (invalidating ordinance prohibiting any

“indecent or lewd act or behavior” where terms were not sufficiently defined ); State

v. Crater, 388 So. 2d 802, 804 (La. 1980) (invalidating prohibition on maintaining

“place of public entertainment” with “lewd dancing” where terms were not

sufficiently defined); City of Seattle v. Johnson, 791 P.2d 266, 269 (Wash. Ct. App.

1990) (invalidating “lewd conduct” ordinance because it did not provide an

exception for “non-obscene, expressive nude activity”).

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      Moreover, because of the unusual way that the drag ban is drafted, it is

impossible to give the term “lewd” a narrowing construction that would bring it

within constitutional limits. Laws regulating lewd speech have been upheld when

the term “lewd” has been narrowly construed to apply to “hard core” sexual activity

as defined by Miller/Ginsberg. See United States v. 12 200-Foot Reels of Super 8mm.

Film, 413 U.S. 123, 130 n.7 (1973). But the Miller/Ginsberg test was already fully

covered by the drag ban’s references to “nudity, sexual conduct, sexual excitement,

or specific sexual activities as those terms are defined in s. 847.001.” And those pre-

existing definitions already included “actual or simulated lewd exhibition of the

genitals.” Fla. Stat. § 847.001(19). The drag ban conspicuously adds additional and

broader prohibitions on “lewd” performances that go beyond those pre-existing

definitions.

      In these circumstances, it is impossible to construe the drag ban’s new

prohibitions on “lewd” performances as merely restating the pre-existing definitions

of performances that are obscene for minors. It is a “basic premise of statutory

construction that a statute is to be interpreted so that no words shall be discarded as

being meaningless, redundant, or mere surplusage.” Aspen Am. Ins. Co. v. Landstar

Ranger, Inc., 65 F.4th 1261, 1271 (11th Cir. 2023) (citation and ellipses omitted);

accord Larimore v. State, 2 So. 3d 101, 106 (Fla. 2008), as revised on denial of reh’g

(Jan. 29, 2009). Construing the prohibitions on “lewd” performances as merely

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covering the same territory as the prohibitions on performances with “nudity, sexual

conduct, sexual excitement, or specific sexual activities as those terms are defined

in s. 847.001” would effectively read the “lewd” prohibitions out of the statute

entirely. Cf. United States v. Miselis, 972 F.3d 518, 537 (4th Cir. 2020) (rejecting

proposal to limit the terms “promote” and “encourage” to mean “incite” because the

term “incite” is already included in the statute); Ex parte Lowry, 639 S.W.3d 151,

162 (Tex. Ct. App. 2021) (refusing to limit prohibition on possessing “lewd visual

material” to obscenity because separate statutes “already prohibit obscenity”);

Cunningham, 400 S.E.2d at 921 (rejecting proposal to limit prohibition on “lewd”

bumper stickers to apply just to obscene speech because “[a] bumper sticker

exhibiting obscene material would [already] be prohibited by [the state’s general

obscenity] statute”).

      Defendant also cites Florida precedent interpreting the term “lewd and

lascivious act,” see Def.’s Br. 40 (citing Chesebrough v. State, 255 So. 2d 675, 677

(Fla. 1971)), and to a statute concerning “lewd and lascivious exhibition[s]” in the

presence of a child under sixteen, see Def.’s Br. 6 (citing Fla. Stat. § 800.04(7)). But

the phrase “lewd and lascivious” is much narrower than the phrase “lewd” standing

alone. Indeed, the statute cited by Defendant specifically defines “lewd and

lascivious exhibition” as intentional masturbation, intentionally exposing genitals,

and other “sexual act[s]” such as “sadomasochistic abuse, sexual bestiality, or the

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simulation of any act involving sexual activity.” Fla. Stat. § 800.04(7). According to

Defendant’s brief, see Def.’s Br. 5–6, the fact that the “lewd and lascivious

exhibition” statute was “limited in scope” only to those specific activities was one

of the reasons why Florida passed the “more comprehensive” drag ban, which covers

“lewd” conduct more broadly.

      In the absence of a limiting construction, the additional prohibitions on “lewd”

performances reach a wide array of performances that might be deemed vulgar,

crude, or offensive but are nonetheless not obscene for minors. For example, in

Bethel School District No. 403 v. Fraser, 478 U.S. 675 (1986), the Supreme Court

held—in light of the special characteristics of a school environment—that a school

could punish a student for giving a “lewd speech” at a school assembly that was

filled with “pervasive sexual innuendo.” Id. at 684. But if the student had “delivered

the same speech in a public forum outside the school context, he would have been

protected.” Morse v. Frederick, 551 U.S. 393, 394 (2007). Indeed, films and movies

with similar types of vulgar jokes and sexual innuendo are a staple of popular

adolescent entertainment in “PG-13” or “R” rated movies. That is why such jokes

are often referred to “immature” or “sophomoric.”

      Dramatic comedy has long been filled with similarly lewd humor and

innuendo, including prosthetics and drag. Classic Greek comedies are replete with

“big phalluses, padding, animal costumes, grotesque masks, colloquial speech, and

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obscene jokes.” Virgil v. Sch. Bd. of Columbia Cnty., 862 F.2d 1517, 1525 n.9 (11th

Cir. 1989) (quoting 1 The Humanities: Cultural Roots and Continuities 68, (Mary

Ann Frese Witt et al. eds., 1980)). Drag performances, which often employ a form

of parody and exaggeration to comment on gender roles, may also use padding and

prosthetics for comedic effect. For example, a drag queen imitating Dolly Parton

may use “a prosthetic breastplate” to “exaggerate her female sexual characteristics.”

Woodlands Pride, 2023 WL 6226113, at *7. Some people might describe such a

costume as “lewd,” but the alleged lewdness would be for comedic effect, not for an

erotic one. And “[t]he First Amendment’s protections apply to jokes, parodies,

satire, and the like, whether clever or in poor taste.” Bailey v. Iles, 87 F.4th 275, 283

(5th Cir. 2023).

      The broad sweep of the term “lewd” is further reinforced by enforcement

actions that the DeSantis administration has taken against drag shows based on other

statutes prohibiting “lewd” conduct. As one example of purportedly lewd conduct,

the DeSantis administration alleged that a drag Christmas show contained “sexually

explicit themes and prurient content presented through perverted versions of popular

children’s Christmas songs,” such as a song called “Screwdolph the Red-Nippled

Reindeer.” App. 174. That song, which featured a person dressed up as a reindeer

with bright lights on their chest, included the lyrics, “Screwdolph the Red-Nippled

Reindeer, had a very shiny bust,” and “Screwdolph with your nipples so bright won’t

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you guide my sleigh tonight.” App. 174. Neither the song nor the costume could

reasonably be described as “erotic,” and the lewdness of the language is comparable

to what someone could expect when watching a PG-13 movie. But the DeSantis

administration nevertheless selected the song as an example of the show’s lewdness,

emphasizing the perceived offensiveness of parodying a Christmas song. In doing

so, the DeSantis administration’s enforcement action “highlights the precise danger

posed by” the drag ban’s expansion beyond the traditional test for obscenity: “that

the ideas expressed by speech . . . may be the real reason for governmental

proscription.” Brown, 564 U.S. at 799.

      B.     The drag ban’s prohibition on “lewd” performances is a content-
             based restriction on speech that fails strict scrutiny.

      The drag ban’s prohibition on “lewd” performances is overbroad because

every application of the drag ban to speech that is not obscene for minors necessarily

implicates First Amendment protected speech. To the extent that the drag ban has

any arguable “legitimate sweep,” Virginia, 539 U.S. at 118–19, those applications

of the statute are fully covered by the references to “nudity, sexual conduct, sexual

excitement, or specific sexual activities as those terms are defined in s. 847.001,”

Fla. Stat. § 827.11(1)(a). Every application of the additional “lewd” provisions is a

content-based regulation of protected speech that fails strict scrutiny. See Ashcroft

v. Free Speech Coal., 535 U.S. 234, 256 (2002) (concluding that prohibition in Child



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Pornography Prevention Act of 1996 is “overbroad and unconstitutional” because it

“covers materials beyond the [unprotected] categories recognized in [New York v.]

Ferber[, 458 U.S. 747 (1982)] and Miller”); Ex parte Lo, 424 S.W.3d 10, 20 (Tex.

Crim.    App.      2013)   (concluding   that    prohibition   on   “sexually   explicit

communications” with minors is overbroad because “everything” it punishes “is

either already prohibited by other statutes (such as obscenity, distributing harmful

material to minors, solicitation of a minor, or child pornography) or is

constitutionally protected”).

              i.     The government does not have a compelling interest in
                     prohibiting minors from attending “lewd” drag performances.

        Where, as here, the “overriding justification for the regulation is concern for

the effect of the subject matter on young viewers,” it “is the essence of content-based

regulation.” United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 811–12 (2000).

The Supreme Court has made clear that “restrictions based on content must satisfy

strict scrutiny.” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1885 (2018). To satisfy

strict scrutiny the government must demonstrate that its restrictions on non-obscene

speech are “a narrowly tailored effort to serve [a] compelling government interest.”

Sable Commc’ns of Cal. v. FCC, 492 U.S. 115, 131 (1989). And “[w]here the

designed benefit of a content-based speech restriction is to shield the sensibilities of




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listeners, the general rule is that the right of expression prevails, even where no less

restrictive alternative exists.” Playboy, 529 U.S. at 813.

      Defendant argues that the drag ban serves a compelling interest in

“protect[ing] young children from the harm of witnessing an obscene live

performance.” Def.’s Br. 30. But she fails to offer a compelling interest in preventing

minors from attending “lewd” drag shows that are not actually obscene for them.

Nor could she. “Speech that is neither obscene as to youths nor subject to some other

legitimate proscription cannot be suppressed solely to protect the young from ideas

or images that a legislative body thinks unsuitable for them.” Erznoznik, 422 U.S. at

213–14.

      Nor can the statute be justified by an interest in helping parents protect minors

from unwanted or inadvertent exposure to lewd or indecent speech. Defendant, see

Def.’s Br. at 33–34, notes that the Supreme Court in FCC v. Pacifica Foundation,

438 U.S. 726 (1978), upheld the FCC’s prohibition on broadcasting indecent speech

to protect minors in the home. But the rationale of that decision, which held that a

station could not broadcast a recording of George Carlin’s “Filthy Words”

monologue, was based on “the ‘unique’ attributes of broadcasting, noting that

broadcasting is ‘uniquely pervasive,’ [and] can intrude on the privacy of the home

without prior warning as to program content.” Sable, 492 U.S. at 127. Those

concerns about preventing unwanted surprise at home are wholly absent when a

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teenager affirmatively attends a live performance, especially when they do so

accompanied by their parents. Pacifica does not allow the government to make it a

crime for parents to take their children to a George Carlin show. And it does not

allow it to criminalize attendance at “lewd” drag shows either.

             ii.    The drag ban is not narrowly tailored, nor is it the least
                    restrictive means available to achieve the government’s aim.

      Even accepting that the government has a compelling interest in preventing

exposure to materials that are obscene for minors, the drag ban’s prohibition on

“lewd” performances is not narrowly tailored to achieve that goal. The government’s

interests in protecting minors from obscene materials would have been fully

addressed by incorporating Florida’s pre-existing definition of obscenity for minors.

The prohibitions on “lewd” performances “do[] not serve any compelling interest

that is not already served by a separate, more narrowly drawn, statutory provision.”

Ex parte Lo, 424 S.W.3d at 19–20.

      The drag ban’s restriction on “lewd” performances cannot be saved by virtue

of its limitation to performances that appeal to the prurient interest, are patently

offensive, and lack serious literary, artistic, political, or scientific value. See Fla.

Stat. § 827.11(1)(a)(1)–(3). As the Supreme Court warned, those three additional

requirements from the Miller/Ginsberg tests for obscenity may not “be used as a

general precondition to protecting other types of speech.” United States v. Stevens,



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559 U.S. 460, 479 (2010); see also Brown, 564 U.S. at 792 (rejecting argument that

legislature could ban sale of violent video games to minors by “appending a saving

clause” from Miller/Ginsberg).

      The First Amendment does not tolerate content-based censorship of protected

speech even when dealing with speech that is considered “low value” by some.

“Most of what we say to one another lacks ‘religious, political, scientific,

educational, journalistic, historical, or artistic value’ (let alone serious value), but it

is still sheltered from government regulation.” Stevens, 559 U.S. at 479. “It may be

that” some drag “performances [are] crude and amateurish and perhaps unappealing,

but the same thing can be said about many theatrical performances.” Schacht v.

United States, 398 U.S. 58, 61–62 (1970). The government’s authority to regulate

obscene performances, even as it relates to minors, does not include the power to act

as “an art critic.” Norma Kristie, 572 F. Supp. at 91. “The Constitution exists

precisely so that opinions and judgments, including esthetic and moral judgments

about art and literature . . . are for the individual to make, not for the Government to

decree, even with the mandate or approval of a majority.” Playboy, 529 U.S. at 818.

A contrary rule “would risk leaving regulations in place that sought to shape our

unique personalities or to silence dissenting ideas.” Id.




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III.   The Drag Ban’s Expansion Beyond the Constitutional Test for Obscenity
       Is Unconstitutionally Vague.

       The drag ban’s prohibition on “lewd” performances is also unconstitutionally

vague under the Fourteenth Amendment. “It is a basic principle of due process that

an enactment is void for vagueness if its prohibitions are not clearly defined.”

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). An act can be vague for two

reasons: “if it fails to provide people of ordinary intelligence a reasonable

opportunity to understand what conduct it prohibits” or “if it authorizes or even

encourages arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S.

703, 732 (2000). And where a statute “is capable of reaching expression sheltered

by the First Amendment, the [vagueness] doctrine demands a greater degree of

specificity than in other contexts.” Smith v. Goguen, 415 U.S. 566, 573 (1974); cf.

Willis v. Town of Marshall, 426 F.3d 251, 261 (4th Cir. 2005) (distinguishing

between restrictions on lewd dancing that occurs as part of a performance, which are

subject to a heightened vagueness standard, and restrictions on lewd recreational

dancing, which are not).

       As discussed above, the drag ban’s undefined prohibition on “lewd”

performances could apply to a wide range of speech that is deemed by the

government to be vulgar or inappropriate for minors. And, as discussed above, while

the term “lewd” has been upheld when narrowly construed to be synonymous with



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“hard core” pornography, such a limiting construction is impossible in light of the

statute’s other provisions and official public statements by the sponsor declaring that

the ban applies to “drag queen story time.” App. 235. Performers and venues that

are subject to the drag ban have no way of knowing what kinds of performances will

be prohibited and which will be permitted. For example, are suggestive dancing and

revealing costumes at Miley Cyrus or Taylor Swift concerts considered “lewd”?

How about skimpy outfits worn by male and female professional wrestlers? Or is

merely appearing publicly in drag an act of lewdness in the eyes of some? As the

Supreme Court of Louisiana recognized over forty years ago when holding that a

prohibition on “lewd dancing” was unconstitutionally vague, “[t]he quality of

lewdness, in the absence of specific legislative definition, is in the mind of the

beholder.” Crater, 388 So. 2d at 804.

      Defendant contends that the term “lewd” is no more vague than the rest of the

Miller/Ginsberg test for obscenity, such as the requirement that the speech appeal to

“prurient” interest and be “patently offensive.” Def.’s Br. 12. But that argument

confuses the critical difference between Miller/Ginsberg’s “threshold limitation”

and the remaining three parts of the test. See Brown, 564 U.S. at 808 (Alito, J.,

concurring) (citing Miller, 413 U.S. at 23–25). Precisely because other provisions of

the test are more malleable, Miller/Ginsberg requires that obscenity statutes be

limited to “sexual conduct specifically defined by the applicable state law.” Id.

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(citing Miller, 413 U.S. at 24). The threshold limitation of Miller/Ginsberg to

specific sexual conduct thus plays a critical role in “reduc[ing] the vagueness

inherent in [subsequent] open-ended” provisions. Reno, 521 U.S. at 873.

      The vagueness is compounded by the fact that the drag ban creates a

constantly shifting standard that fluctuates based on the age of the particular minor

who attends a drag show. Material that is obscene for a young child will not be

obscene for an older teenager. Other laws prohibiting distribution of material that is

obscene as to minors have thus been upheld only after being narrowly limited so that

“if any reasonable minor, including a seventeen-year-old, would find serious value,

the material is not ‘harmful to minors.’” Webb, 919 F.2d at 1504–05; see also ACLU

v. Ashcroft, 322 F.3d 240, 253–55 (3d Cir. 2003), aff’d & remanded, 542 U.S. 656

(2004) (identifying flaw in Child Online Protection Act for failing to apply that

standard).

      But, instead of limiting the drag ban’s prohibition to be judged from that

consistent standpoint, Florida requires a performance venue to constantly make

subtle judgments about what would be prohibited for each individual minor

depending on their age. Far from “resolv[ing] [the] constitutional concern the Third

Circuit identified in ACLU v. Ashcroft,” see Def.’s Br. 24, that variable standard is

precisely what the Third Circuit found to be unconstitutional: To comply “they must

guess at the potential audience of minors and their ages so that the publishers can

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refrain from posting material that will trigger the prurient interest or be patently

offensive with respect to those minors who may be deemed to have such interests.”

ACLU v. Ashcroft, 322 F.3d at 254. “Attaching criminal sanctions to a mistaken

judgment about the contours of [a] novel and nebulous category of ‘harmful to

minors’ speech clearly imposes a heavy burden on the exercise of First Amendment

freedoms.” Ashcroft v. ACLU, 542 U.S. 656, 675 (2004) (Stevens, J., concurring).

      Untethered to the constitutional definition of obscenity for minors, the drag

ban’s prohibitions on “lewd” performances are also unconstitutionally vague

because they delegate enforcement “to policemen, judges, and juries for resolution

on an ad hoc and subjective basis, with the attendant dangers of arbitrary and

discriminatory application.” Grayned, 408 U.S. at 108–09. While phrased in

ostensibly neutral terms, the drag ban was unquestionably adopted because of

government officials’ objections to “lewdness” in drag shows. The DeSantis

administration has controversially pursued enforcement actions against drag shows

based on other statutes prohibiting “lewd” conduct despite the fact that undercover

agents who attended the shows did not think that the performance included any

content that qualified as “lewd acts.” See App. 264. And in another enforcement

action, the DeSantis administration relied on an antiquated Supreme Court of Florida

decision to argue “that ‘men impersonating women’ in the context of ‘suggestive

and indecent’ performances constitutes a public nuisance.” App. 105 (citing Fed.

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Amusement Co. v. State ex rel. Tuppen, 32 So. 2d 1 (Fla. 1947)). Without being

limited to the settled definitions of obscenity, the statute’s vague prohibition on

“lewd performances” invites these sorts of arbitrary enforcement decisions against

drag performers based, at least in part, on disapproval of “drag” itself. Indeed, the

lead sponsor of the bill proclaimed that even “drag queen story time” could be

targeted. App. 235.

      The vagueness of the drag ban is a feature, not a bug. Instead of drafting a

restriction that hews to the settled test of obscenity for minors, Florida added new

prohibitions on “lewd” performances to reach a broader category of new, but

undefined, conduct. The inevitable result is that performance venues, which are left

to guess about how far the statute extends beyond the pre-existing test for obscenity,

will err in favor of exclusion to be sure they do not fall on the wrong side of the new

law—and officials who enforce it. The “obvious chilling effect,” Reno, 521 U.S. at

872, is precisely why laws regulating speech are held to a heightened vagueness

standard, and why the district court properly concluded that the drag ban was likely

void for vagueness.

                                  CONCLUSION

      The district court’s preliminary injunction should be affirmed.




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                                        Respectfully submitted,

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January 29, 2024




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), the undersigned counsel certifies that the

foregoing document complies with the type-volume limitation set forth in Fed. R.

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January 29, 2024                           /s/ Joshua A. Block
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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 29, 2024, the foregoing was filed

electronically with the Clerk of Court through the appellate CM/ECF system. I

further certify that all parties required to be served have been served.

January 29, 2024                            /s/ Joshua A. Block
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